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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

                                                *                CIVIL ACTION
MATTHEW MUSSON                                  *
Plaintiff                                       *                NO.
                                                *
versus                                          *                SECTION “ ”
                                                *
VIRTUAL RADIOLOGIC PROFESSIONALS, LLC           *
F/K/A NIGHTHAWK RADIOLOGY SERVICES, LLC *
AND/OR NIGHTHAWK RADIOLOGY HOLDINGS, INC*                        MAG. DIV.
Defendants                                      *
                                                *
* * * * * * * * * * * * * * * * * * * * * * * *


                                  NOTICE OF REMOVAL


       NOW INTO COURT, through undersigned counsel, come defendants, NightHawk

Radiology Services, LLC, NightHawk Radiology Holdings, Inc., and Virtual Radiologic

Professionals, LLC, incorrectly alleged to be formerly known as NightHawk Radiology Services,

LLC and improperly named as a defendant in this matter, which respectfully represent:

                                              1.

       On or about May 8, 2012, plaintiff Matthew Musson filed a petition for damages in the

32nd Judicial District Court for the Parish of Terrebonne, State of Louisiana, civil action no.

166661, Division D, seeking monetary damages from the defendants for alleged medical

malpractice.


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                                                2.

       Plaintiffs served defendants with the petition on May 14, 2012 via CT Corporation, their

agent for service of process.

                                                3.

       Therefore, as of the date of this filing, defendants are within the statutory 30-day window

for removal, pursuant to 28 USC § 1446(b).

                                                4.

       Plaintiff seeks a judgment against defendants for medical bills, past and future, physical

pain and suffering, past and future, and mental pain, past and future, arising out of an alleged

failure by the defendants to properly interpret a CT scan.

                                                5.

       Defendants desire to and do hereby remove the aforesaid state court proceeding no.

166661 (D) to the United States District Court for the Eastern District of Louisiana, where it

might originally have been filed.

                                                6.

       Defendants assert that subject matter jurisdiction in this Court is appropriate pursuant to

28 U.S.C. § 1332 (diversity of citizenship).    Defendants note that plaintiff is, according to his

petition, a resident of and domiciled in Terrebonne Parish, Louisiana.

                                                7.

       NightHawk Radiology Services, LLC is an Idaho limited liability company with its

principal place of business in Minnesota. NightHawk Radiology Holdings Inc. is a Delaware

limited liability company with its principal place of business in Minnesota. Virtual Radiologic



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Professionals, L.L.C. is a Delaware limited liability company with its principal place of business

in Minnesota. Contrary to plaintiff’s petition, both NightHawk Radiology Services, LLC and

NightHawk Radiology Holdings, Inc. are active corporations. Neither has been subsumed by

Virtual Radiologic Professionals, LLC, an unrelated affiliate, with no involvement in or

relationship to this matter.

                                                  8.

       Removal on the basis of diversity of citizenship is therefore proper. Based on the

allegations in plaintiff’s petition, principally that medical negligence led to plaintiff’s developing

“a gangrenous appendix with gross perforation” and required surgery, plaintiff’s claims, should

they prove meritorious, would more likely than not result in a damage award in excess of

$75,000.

                                                  9.

       Based on the nature of plaintiff’s claims, and plaintiff’s own statement at Paragraph 14

that the amount in controversy exceeds the jury threshold, it is apparent that the requisite amount

in controversy is present with respect to this action.

                                                 10.

       Pursuant to 28 U.S.C. §§ 1332, 1441(a) and 1446(a), and without prejudice to any

defense defendant may have to plaintiff’s action, defendants, which are completely diverse from

plaintiff, file this Notice of Removal.

                                                 11.

       Pursuant to 28 U.S.C. § 1446(a), the pleadings filed in the state court action are being

filed along with this Notice of Removal, and are attached hereto as Exhibit A.



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                                                12.

        Pursuant to 28 U.S.C. § 1446(d), promptly after the filing of this Notice of Removal with

this Court, copies of this Notice of Removal (without the attached state court pleadings) will be

filed with the Clerk of Court for the 32nd Judicial District Court for the Parish of Terrebonne,

State of Louisiana, and will be served on counsel for plaintiff in the removed action.

                                                13.

        Pursuant to 28 U.S.C. § 1446(d), the filing of this Notice of Removal in this Court and

the filing of same with the state court serve immediately to confer on this Court exclusive

jurisdiction over this action and simultaneously to divest the state court of jurisdiction with

respect to this action.


        WHEREFORE, defendant hereby gives notice that the hereinabove described proceeding

no. 166661 on the docket of Division D of the 32nd Judicial District Court for the Parish of

Terrebonne, State of Louisiana, is removed from the said state court to the United States District

Court for the Eastern District of Louisiana for further proceedings and disposition in accordance

with law.

                                             s/RICHARD S. CRISLER
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                                             RICHARD S. CRISLER (#28007)
                                             NATALIE J. DEKARIS (#31282)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2012, a copy of the foregoing Notice of Removal was filed

electronically with the Clerk of Court using the CM/ECF system. I also certify that I have mailed

by United States Postal Service this filing to plaintiff’s attorney, Mr. David W. Ardoin (#24282),

505 West Third Street, Thibodaux, LA 70301.


                                              s/RICHARD S. CRISLER
                                              C. WM. BRADLEY JR. (#03371)
                                              RICHARD S. CRISLER (#28007)
                                              NATALIE J. DEKARIS (#31282)
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